O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                             NORTH CAROLINA
          UNITED STATES OF AMERICA
                     V.                                                              ORDER OF DETENTION PENDING TRIAL
           ASHLEY MICHELLE GREENE                                                  Case     1:09 cr 25-4
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                    Alternative Findings (A)
X    (1) There is probable cause to believe that the defendant has committed an offense
          X   for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841                                        .
              under 18 U.S.C. § 924(c).
X    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
     (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                          SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II— W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence                           a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                       Date                                                                           Signature of Judge
                                                                                      Dennis L. Howell, United States Magistrate Judge
                                                                                                 Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                    1:09 cr 25-4

UNITED STATES OF AMERICA,

Vs.                                                                      ADDENDUM TO
                                                                        DETENTION ORDER
ASHLEY MICHELLE GREENE.
_______________________________

I. FACTORS CONSIDERED

       18 U.S.C. § 3142:
       (g) Factors to be considered.--The judicial officer shall, in determining whether there are
       conditions of release that will reasonably assure the appearance of the person as required and
       the safety of any other person and the community, take into account the available information
       concerning--
       (1) The nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

            (A) the person's character, physical and mental condition, family ties, employment,
                financial resources, length of residence in the community, community ties, past
                conduct, history relating to drug or alcohol abuse, criminal history, and record
                concerning appearance at court proceedings; and
             (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
      (4) the nature and seriousness of the danger to any person or the community that would be
         posed by the person's release.




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  II.                                      FINDINGS


   As to factor:


   (g)(1): The nature and circumstances of the offense charged involve a controlled substance,
  that being methamphetamine. Evidence was presented that the defendant had sold
  methamphetamine to undercover officers on seven occasions. On two of those occasions,
  the amount of methamphetamine was in excess of 1 oz.


   (g)(2): The weight of the evidence against the person appears to be strong, compelling and
  significant. Undercover officers purchased methamphetamine from the defendant on seven
  separate occasions.
   (g)(3): The history and characteristics of the person


      (A) Family ties, employment, financial resources, length of residence in the community,
   community ties, past conduct, history relating to drug or alcohol abuse, criminal history
   and record concerning appearance at court appearances indicate that the defendant has
   family ties. The defendant does not have employment and has not had employment for a
   period in excess of two years. The defendant does not have financial resources. The
   defendant has a long length of residence in the Caldwell and Catawba County communities.
   The defendant’s history relating to drug or alcohol abuse shows that she has been using
   methamphetamine for approximately four years. On one occasion, the defendant attended
   40 hours of outpatient substance abuse treatment. The defendant is not in good health. The
   defendant suffered a severe head trauma in an automobile accident that occurred in 2002 and
   the defendant’s mental capacity was damaged as a result of the injuries she sustained in this
   accident. The defendant is also suffering from depression and has had suicidal thoughts and
   ideation. In regard to the defendant’s criminal history relating to drug or alcohol abuse, the
   defendant was convicted in Caldwell County, NC of misdemeanor possession of a schedule
   VI controlled substance on October 18, 1999.


  The defendant’s record concerning appearance at court appearances shows that the defendant
  failed to appear on April 24, 2006 in regard to misdemeanor converting utility use. She
  further failed to appear on March 19, 2007 in regard to a charge of misdemeanor possession
  of drug paraphernalia.

        (B) At the time of the current offense or arrest, the defendant was on probation, parole
   or other release pending trial, sentencing, appeal or completion of sentence. It appears that
   this factor does not exist.


  (g)(4): The nature and seriousness of the danger to any person or the community that would
  be posed by the person’s release indicate that the release of the defendant would create a risk
  of harm or danger to any other person or the community. The defendant is charged with an


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  offense for which a presumption has been statutorily created that provides it is presumed the
  release of the defendant would create a risk of harm or danger to any other person or the
  community. This presumption is subject to rebuttal. The undersigned finds that the
  defendant has not rebutted the presumption. The evidence presented by the government
  shows that seven purchases of methamphetamine had been made from the defendant by an
  undercover officer or operative. On two of those purchases, the amount of methamphetamine
  was over an ounce which this court finds is a large amount of methamphetamine. The
  defendant’s mother and stepfather are willing for the defendant to reside with them and they
  are willing to act as her custodians. However, the defendant’s mother and stepfather already
  have custody of the defendant’s eight year old son. The defendant’s mother and stepfather
  are fine persons and would be good custodians. They must initially be concerned with the
  defendant’s eight year old child and it would be improper for this court to require them to
  take on the additional burden of being custodians for this defendant. As a result, the
  undersigned finds that the presumption of detention has not been rebutted by the defendant
  and further finds by clear and convincing that the release of the defendant would create a
  risk of harm or danger to any other person or the community. The record of the defendant
  for the sale of methamphetamine shows that the release of the defendant would create a risk
  of harm or danger to any other person or the community if she were released.
  The undersigned does not find that the release of the defendant would create a risk of flight
  on her part. The evidence shows that the presumption has been rebutted. The defendant has
  never resided in any county other than Caldwell or Catawba counties, NC and she has a
  minimal criminal record. The defendant has failed to appear on two occasions, but the
  undersigned does not find that the release of the defendant would create a risk of flight on
  her part. As a result of the foregoing, the undersigned has determined to enter an order
  detaining the defendant.


  WHEREFORE, it is ORDERED that the defendant be detained pending further
  proceedings in this matter.
                                           Signed: June 4, 2009




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